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IN THE UNITED sTATEs DISTRICT coung§ mg 29 H 3: 145
FoR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIvIsION

THOMAS M. GUJLD
.C\£RK U.S. L,\‘.SIW OOUHT
W®Uiuamd&n$
FEDERAL EXPRESS CORPORATION,

Piaintiff,

V .

No. 01-2503 Ma/P
ACCU-SORT SYSTEMS, INC..

Defendant.

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ORDER DENYING PLAINTIFF’S MOTION §§ LIMINE WITHOUT PREJUDICE

 

Before the court is Plaintiff Federal Express Corporation's
(“FedEx”) motion_in limine to exclude all evidence, statements, and
references related to a witnesses's demotion, filed December lO,
2004, to which Defendant Accu-Sort Systems, Inc. (“Accu-Sort")
responded on January 3, 2005. Because the trial of this case has
been continued until January 23, 2006, Plaintiff's motion is
premature. Thus, Plaintiff’s motion in limine is DENIED without
prejudice, and Plaintiff may re-file the motion as the trial date

approaches.

Ti.is document entered on the docket heet in co fiance
with Ru!e 5€> anci;'or ?9(€.) FHCP on __£'.c£_'o§

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so oRDERED this "'°M\day of August 2005.

y//Vv;...-

SAMUEL H. MAYS, JR.
UNI'I`ED S'I'ATES DISTRICT JUDGE

 

 
 
 
 
 

   
 
 

UNDITE` sTATEs DISRTICT COURT- WESTERNDT"ISRIC F TNNESSEE

   

 

 

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Honorable Samuel Mays
US DISTRICT COURT

